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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

FRANKLIN J. COX,                          )
                                          )
              Petitioner,                 )
                                          )
       v.                                 )      CAUSE NO. 3:18-CV-076-JD-MGG
                                          )
WARDEN,                                   )
                                          )
              Respondent.                 )

                                 OPINION AND ORDER

       Franklin J. Cox, a prisoner without a lawyer, filed a habeas corpus petition

challenging a disciplinary hearing (WCC 17-07-483) where a Disciplinary Hearing

Officer (DHO) found him guilty of asserting and/or filing a false lien or judgment in

violation of Indiana Department of Correction (IDOC) policy A-122 on August 22, 2017.

ECF 2 at 1. As a result, he was sanctioned with the loss of 120 days earned credit time

and the imposition of a suspended sanction—the loss of 45 days earned credit time—

for a total loss of 165 days earned credit time. ECF 2 at 1, 10-5 at 1-2. The Warden has

filed the administrative record and Cox has filed a traverse. Thus, this case is fully

briefed.

       The Fourteenth Amendment guarantees prisoners certain procedural due

process rights in prison disciplinary hearings: (1) advance written notice of the charges;

(2) an opportunity to be heard before an impartial decision-maker; (3) an opportunity to

call witnesses and present documentary evidence in defense, when consistent with
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institutional safety and correctional goals; and (4) a written statement by the fact-finder

of evidence relied on and the reasons for the disciplinary action. Wolff v. McDonnell, 418

U.S. 539 (1974). To satisfy due process, there must also be “some evidence” in the

record to support the guilty finding. Superintendent, Mass Corr Inst. v. Hill, 472 U.S. 445,

455 (1985).

       In the context of a prison disciplinary hearing, “the relevant question is whether

there is any evidence in the record that could support the conclusion reached by the

disciplinary board.” Hill, 472 U.S. at 455-56. “In reviewing a decision for some

evidence, courts are not required to conduct an examination of the entire record,

independently assess witness credibility, or weigh the evidence, but only determine

whether the prison disciplinary board’s decision to revoke good time credits has some

factual basis.” McPherson v. McBride, 188 F.3d 784, 786 (7th Cir. 1999) (quotation marks

omitted).

       [T]he findings of a prison disciplinary board [need only] have the support
       of some evidence in the record. This is a lenient standard, requiring no
       more than a modicum of evidence. Even meager proof will suffice, so long
       as the record is not so devoid of evidence that the findings of the
       disciplinary board were without support or otherwise arbitrary. Although
       some evidence is not much, it still must point to the accused’s guilt. It is
       not our province to assess the comparative weight of the evidence
       underlying the disciplinary board’s decision.

Webb v. Anderson, 224 F.3d 649, 652 (7th Cir. 2000) (quotation marks, citations,

parenthesis, and ellipsis omitted).




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      In this case, Cox was charged with and found guilty of violating offense A-122.

ECF 10-5 at 1-2. Specifically, IDOC offense A-122 prohibits inmates from “[a]sserting

and/or filing a lien or judgment against any person when the basis for said lien or

judgment is false or otherwise untrue.” Indiana Department of Correction, Adult

Disciplinary Process, Appendix I. See http://www.in.gov/idoc/files/02-04-101_

APPENDIX_I-OFFENSES_6-1-2015(1).pdf.

      The Conduct Report charged Cox as follows:

      At approximately 12:03 pm on July 24, 2017, I, Patrick Krueger, was
      notified by Central Office staff that Offender Franklin Cox 114766 has filed
      a frivolous lawsuit claiming he is owed credit time for classes which are
      not DOC-approved time cut programs.

      By demanding credit time via a lawsuit for classes which are not and have
      never been DOC-approved time cut programs Offender Cox has violated
      ADP code A122: Asserting and/or filing a false lien or judgment.

ECF 10-1 at 1.

      At the August 22, 2017, disciplinary hearing, Cox stated: “I never filed a lawsuit.

I don’t see how its frivolous when the judge gave me time to respond. The court

would’ve shut it down if it was frivolous.” ECF 10-5 at 1-2. The hearing officer then

determined that Cox violated offense A-122, and sanctioned him with the loss of 165

days earned credit time—120 days for the A-122 offense and 45-days from a previously

suspended sanction. Id.

      In his petition, Cox argues there was insufficient evidence for the DHO to find

him guilty. ECF 2 at 1. Here, Cox claims he “never filed a lawsuit” but instead he



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simply filed a “Verified Petition for Additional Credit Time” in St. Joseph Superior

Court that pertained to his criminal felony case. Id. He explains he filed the verified

petition seeking credit time only for those classes or programs he took which were not

part of the “regular courses” offered by the Indiana Department of Correction. Id.

       In this case, the DHO found there was sufficient evidence to find Cox guilty of

violating offense A-122. Here, the DHO considered the conduct report in which Patrick

Krueger, a classification supervisor, documented the fact he had been notified by the

prison’s central office staff that Cox had filed a frivolous lawsuit claiming he was owed

credit time for classes which were not IDOC-approved time cut programs. ECF 10-1 at

1. Krueger explained that, because Cox had demanded credit time for classes which

had not been approved by IDOC, he violated offense A-122, which prohibits the filing

of a false lien or judgment. Id.

       Krueger’s conduct report was based on the following set of facts. On June 28,

2017, Cox filed a Verified Petition for Additional Credit Time in the St. Joseph Superior

Court under cause number 71D01-0111-CF-00461. ECF 10-8 at 1-4. This petition

initiated a legal proceeding to determine whether Cox was entitled to credit time for 16

different activities he participated in while he was incarcerated at the Westville

Correctional Facility. Id. Jennifer Farmer, who is IDOC’s Director of Sentencing

Computation and Release, supervises the process for awarding credit time to inmates

and is familiar with the programs that have been approved by IDOC for credit time.

ECF 10-10 at 1-2. Farmer reviewed the list of activities for which Cox sought credit time


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in his petition and concluded that none of the activities qualified for additional credit

time pursuant to IDOC’s Policy and Administrative Procedure policy number 01-04-

101. ECF 10-10 at 1-2, 12 at 1-2. See http://www.in.gov/idoc/files/01-04-101_Adult_

Offender_Classification_11-1-2015.pdf. Section VII(F)(3)(b) of IDOC policy number 01-

04-101 lists those programs that specifically qualify for additional credit time and states

that “[t]he above listing represents a comprehensive roster of available time cut

programs.” Id. However, the activities listed in Cox’s petition are not included in the

list of IDOC programs approved for credit time. ECF 10-8 at 1-2, 10-10 at 1-2. The St.

Joseph Superior Court summarily denied Cox’s petition without a hearing and found

that he was not entitled to any earned credit time for the programs he listed in his

petition. ECF 10-9 at 1-2.

       The court has reviewed the record in this case and finds there was insufficient

evidence for the DHO to find Cox guilty of violating offense A-122. While a conduct

report alone can be sufficient to support a finding of guilt, “the report [must have]

describe[d] the alleged infraction in sufficient detail [and leave] no question that the

conduct described would violate the prison rule.” McPherson, 188 F.3d at 786. But here

that is not the case. The conduct report—and underlying facts supporting the report—

fail to establish that Cox filed a lien or judgment against another person that was false

or otherwise untrue. Instead, Cox filed a verified petition in the St. Joseph Superior

Court seeking credit time for classes and programs he took which were not part of the

regular courses offered by IDOC. ECF 10-8 at 1-4. While the verified petition may have


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been frivolous because the relief Cox sought was not sanctioned by IDOC, the petition

itself—in no way, shape, or form—can be viewed as constituting that of a lien or

judgment. There is also no evidence to suggest that Cox intended or actually filed the

verified petition against another person. Rather, as stated, he filed the verified petition

in the St. Joseph Superior Court against the State of Indiana in connection with his

criminal case. ECF 10-8 at 1. Because there is no factual basis in the record to support

the DHO’s guilty finding, it was unreasonable and arbitrary for the DHO to conclude

Cox violated offense A-122.

       In light of the fact there was insufficient evidence to sustain the offense charged

in the conduct report, the DHO did not have sufficient evidence to find Cox guilty. The

court will overturn the hearing officer’s decision only if “no reasonable adjudicator

could have found [the prisoner] guilty of the offense on the basis of the evidence

presented.” Henderson v. United States Parole Comm’n, 13 F.3d 1073, 1077 (7th Cir. 1994).

Therefore, Cox is entitled to habeas corpus relief.

       For these reasons, Franklin J. Cox’s petition for writ of habeas corpus is

GRANTED. The Warden is ORDERED to file documentation by February 28, 2019,

showing that the guilty finding in WCC 17-07-483 has been vacated and that any earned

credit time or demotion in credit time that Cox lost because of the guilty finding is

restored.




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     SO ORDERED on January 28, 2019



                                               /s/ JON E. DEGUILIO
                                          JUDGE
                                          UNITED STATES DISTRICT COURT




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